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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE:                                             : Bankruptcy No. 17-21134-GLT
                                                   :
TERRI L. MCCLAIN A/K/A TERRI LYNN                  : Chapter 7
MCCLAIN F/K/A TERRI L. KERR F/K/A                  :
TERRI LYNN KERR                                    : Related to Doc. Nos. 74, 75
                                                   :
                            Debtor                 :
                                                   :
  LSF10 MASTER PARTICIPATION TRUST                 :
                                                   :
          Movant                                   :
                                                   :
     v.                                            :
                                                   :
  TERRI L. MCCLAIN A/K/A TERRI LYNN                :
  MCCLAIN F/K/A TERRI L. KERR F/K/A                :
  TERRI LYNN KERR                                  :
  KAREN L. JOHNS (DECEASED)                        :
  JAMES KERR (Non-filing Co-debtor)                :
             and                                   :
  NATALIE LUTZ CARDIELLO, ESQUIRE                  :
  (TRUSTEE)                                        :
                                                   :
           Respondents                             :


                                 TRUSTEE’S RESPONSE TO
                       MOTION OF LSF10 MASTER PARTICIPATION TRUST
                     FOR RELIEF FROM THE AUTOMATIC STAY UNDER §362
                      PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

        AND NOW comes Natalie Lutz Cardiello, Trustee, by and through her attorney, Natalie Lutz
Cardiello, Esquire, and files the within Response to Motion of LSF10 Master Participation Trust for Relief
from the Automatic Stay Under §362 Pursuant to Bankruptcy Procedure Rule 4001 (the “Motion”) filed in
the above matter.

       1. The Debtor filed a Voluntary Petition under Chapter 13 of the Bankruptcy Code on March 24,
2017, which case was converted to a case under Chapter 7 on August 17, 2017.

          2. Natalie Lutz Cardiello was duly appointed Trustee and has been so serving.

       3. The Motion was filed in connection with the Debtor’s property located at 1332 Union Avenue,
Natrona Heights, PA 15065 (the “Property”).

        4. Pending before this Honorable Court is the Trustee’s Application to Employ BK Global Real
Estate Services and Re/Max Realty Centre as Realtor for the Trustee.
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        5. The Trustee does not object to the relief requested by Movant, but requests a reasonable period
of time of six months to market and sell the Property.

        6. In the event that the Trustee determines that a sale of the Property is not feasible before the
expiration of the six month waiting period, the Trustee will file a Report of No Distribution, at which time
the Movant can proceed with its requested relief.

       WHEREFORE, the Trustee requests that this Honorable Court enter an Order granting the Motion
of LSF10 Master Participation Trust for Relief from the Automatic Stay Under §362 Pursuant to Bankruptcy
Procedure Rule 4001, effective as of June 21, 2018, or at such earlier time as the Trustee files a Report of
No Distribution.


 Dated: November 14, 2017                                         Respectfully submitted,


                                                                  /s/ Natalie Lutz Cardiello
                                                                  Natalie Lutz Cardiello, Esquire
                                                                  PA ID# 51296
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                                                                  Carnegie, PA 15106
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